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                                                     Pg 1 of 4


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :       Chapter 11
                                                               :
NAVILLUS TILE, INC., DBA NAVILLUS                              :       Case No. 17-13162 (SHL)
CONTRACTING                                                    :
                                                               :
                                    Debtor.                    :
                                                               :
---------------------------------------------------------------x

                                        AFFIDAVIT OF SERVICE

STATE OF WASHINGTON )
                    ) ss
COUNTY OF KING      )

I, Peter DeMers, being duly sworn, depose and state:

1.      I am a Project Manager with Garden City Group, LLC, the claims and noticing agent for

the debtor and debtor-in-possession (the “Debtor”) in the above-captioned proceeding. Our

business address is 1531 Utah Avenue South, Suite 600, Seattle, Washington 98134.

2.      On February 12, 2018, at the direction of Cullen and Dykman LLP, counsel to the

Debtor, I caused a true and correct copy of the following document to be served by first class

mail on the parties identified on Exhibit A annexed hereto (Contract Counterparties):1

                Amended Order Pursuant to 11 U.S.C §§ 105(a) and 365(a) & (d) and Fed.
                 R. Bankr. P. 6004 and 6006 Approving Rejection of Certain Executory
                 Contracts and Unexpired Leases of Personal Property [Docket No. 233].



                [Remainder of page left intentionally blank; signature page to follow]




1
 The envelopes utilized in service on the parties enumerated in Exhibit A included a legend which stated:
“Important Legal Documents Enclosed: Please direct a copy of the contents of this envelope to the President,
Managing or General Agent.”
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                                             Pg 2 of 4




                                                   /s/ Peter DeMers
                                                   Peter DeMers

Sworn to before me this 13th day of
February, 2018


/s/ Katherine Hathaway
Katherine A. Hathaway
Notary Public, State of Washington
No. 184372
Commission Expires February 26, 2020




                                               2
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                              EXHIBIT A
                                                             17-13162-shl    Doc 235   Filed 02/13/18    Entered 02/13/18 17:55:30       Main Document
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